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         Exhibit N
                               to

Memorandum in Support of Defendant’s Post-Trial Motion for
 Judgment of Acquittal or in the Alternative for a New Trial
                Case 1:18-cr-00224-AJN Document 336-14 Filed 05/01/20 Page 2 of 3


Milione, Shawn (USANYS) [Contractor]

From:                             OFAC_Feedback@treasury.gov
Sent:                             Wednesday, June 22, 2011 2:25 PM
To:                               Jepal, Vinay
Cc:                               CBNA Sanctions
Subject:                          RE: Emailing: Stratus International Contracting - Final

Sensitivity:                      Confidential


Vinay,

We have received your correspondence, and we'll be in touch if further action is required.

Regards,

Leslie

OFAC Compliance

‐‐‐‐‐Original Message‐‐‐‐‐
From: Jepal, Vinay [mailto:Vinay.Jepal@commerzbank.com]
Sent: Monday, June 20, 2011 1:35 PM
To: OFAC_Feedback
Cc: CBNA Sanctions
Subject: Emailing: Stratus International Contracting ‐ Final
Importance: High
Sensitivity: Confidential


Attn: OFAC Compliance @ US Treasury

We like to share the attached information with the OFAC.

While performing the Transaction Review on an alert generated by our Transaction Surveillance system, we noted that
one of the party to the transaction may be an Iranian or an Iranian Origin.

Please review the attached letter and the documents. If you have any questions or require any additional details, please
let us know.

Thanks & regards,
Vinay Jepal

Commerzbank AG
Sanctions Compliance Officer
New York, NY 10281‐1050

T: +1 (212) 895‐6771
F: +1 (212) 266‐7235
email: vinay.jepal@commerzbank.com

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website: http://www.commerzbank.us

Commerzbank Aktiengesellschaft, Frankfurt am Main Handelsregister/Commercial Register: Amtsgericht Frankfurt am
Main, HRB 32000 Vorsitzender des Aufsichtsrates/Chairman of the Supervisory Board: Klaus‐Peter Müller
Vorstand/Board of Managing Directors: Martin Blessing (Vorsitzender/Chairman), Frank Annuscheit, Markus Beumer,
Achim Kassow, Jochen Klösges, Michael Reuther, Stefan Schmittmann, Ulrich Sieber, Eric Strutz, Martin Zielke



The message is ready to be sent with the following file or link attachments:

Stratus International Contracting ‐ Final


Note: To protect against computer viruses, e‐mail programs may prevent sending or receiving certain types of file
attachments. Check your e‐mail security settings to determine how attachments are handled.

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